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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    CHRISTOPHER CARMONA,                                 §
                                                         §
           Plaintiff,                                    §
                                                         §
    v.                                                   § CIVIL ACTION NO: 4:22-CV-01208
                                                         §
    CARRINGTON MORTGAGE                                  §
    SERVICES, LLC                                        §
                                                         §
           Defendant.                                    §

                                      NOTICE OF SETTLEMENT

          Defendant Carrington Mortgage Services, LLC hereby notices 1 the Court that Plaintiff

Christopher Carmona and Carrington have reached a settlement agreement that resolves all

pending claims in this lawsuit. The Parties are in the process of finalizing the settlement and

request that the Court stay all impending deadlines until the Parties can file a joint stipulation of

dismissal. The Parties anticipate no more than thirty (30) days to complete all terms of the

settlement and file a joint stipulation of dismissal. The Parties have notified the Honorable Yvonne

Ho of the pending settlement as well.

          WHEREFORE, the Parties respectfully request that this Court stay all impending deadlines

and hearings for a period of at least thirty (30) days.




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  Pursuant to the settlement with Plaintiff Christopher Carmona, counsel for Carrington advised Mr. Carmona that
this Notice of Settlement would be filed by Carrington, and Mr. Carmona agreed to the filing of this notice.
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                                              Respectfully submitted,




                                         By: /s/ Gabriella Alonso
                                             JON H. PATTERSON
                                             Texas Bar No. 24077588
                                             jpatterson@bradley.com
                                             Bradley Arant Boult Cummings LLP
                                             1819 Fifth Avenue North
                                             Birmingham, Alabama 35203-2104
                                             Telephone: (205) 521-8403
                                             Fax: (205) 488-6403
                                             MELISSA GUTIERREZ ALONSO
                                             Texas Bar No. 24087648
                                             Fed. I.D. No. 2255351
                                             malonso@bradley.com
                                             GABRIELLA ALONSO
                                             Texas Bar No. 24113527
                                             GALONSO@BRADLEY.COM
                                             600 Travis Street, Suite 4800
                                             Houston, Texas 77002
                                             (713) 576-0300 Telephone
                                             (713) 576-0301 Telecopier
                                             ATTORNEYS FOR DEFENDANT


                                 CERTIFICATE OF SERVICE
       I certify that on this 17th day of August, 2022, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served on all counsel of record as follows:

                                          Via US Mail
                            & E-mail: chriscarmona1986@gmail.com
                                      Christopher Carmona
                                9919 Meadow Mill Forest Lane
                                     Houston, Texas 77044
                                        Plaintiff Pro-Se



                                              /s/ Gabriella Alonso
                                              Gabriella Alonso



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